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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEBRASKA
Denise M. Lucks                        OFFICE OF THE CLERK                                          M. Therese Bollerup
Clerk of Court                                  www.ned.uscourts.gov                                Chief Deputy Clerk

                                                  July 31, 2015

   TO:             The Honorable Senior Judge Richard G. Kopf

   FROM:           Clerk, U.S. District Court
                   Gale Gomez

   DATE:           July 31, 2015

   SUBJECT:        4:09CR3091 USA v. Jobita Willetta Avery

   A party, who has been given permission to proceed in forma pauperis or who is financially unable
   to obtain an adequate defense in a criminal case, has filed a notice of appeal. Pursuant to the third
   paragraph of FRAP 24(a), a party may proceed on appeal in forma pauperis without further
   authorization unless the district judge certifies that the appeal is not taken in good faith or finds
   that the party is otherwise not entitled to proceed on appeal in forma pauperis. The district judge
   shall state in writing the reasons for such a certification or finding.

   Please advise the clerk's office of how you intend to proceed so that we may process this appeal:

             X    No order will be entered in this direct criminal appeal, and the party is permitted to
                  proceed on appeal in forma pauperis.
                  An order will be entered finding that the party is not entitled to proceed in forma
                  pauperis.
                  An order will be entered, and the party is permitted to proceed on appeal in forma
                  pauperis.
                  An order will be entered in this § 2254 or § 2255 case regarding certificate of
                  appealability.

           Dated this 31st day of July, 2015.

                                                                s/ Richard G. Kopf
                                                                United States District Judge

                      Additional Requirement for State Habeas or § 2255 Cases

   Pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
   district judge who rendered the judgment shall either issue a certificate of appealability or state
   the reasons why such a certificate should not be issued.

   Transmission of the notice of appeal to the Court of Appeals will be delayed until this court rules
   on the party's in forma pauperis status and the certificate of appealability.

                                                        Forms-Appeal-Memo_IFP_Prisoner_to_Judge_Criminal
                                                                                  Approved Date: 12/22/14


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